          Case 5:21-cr-00154-FB Document 105 Filed 10/07/21 Page 1 of 2




                          UNITED STATES DISTRICT COURT
                           WESTERN DISTRICT OF TEXAS
                              SAN ANTONIO DIVISION

USA                                               §
                                                  §
vs.                                               § NO: SA:21-CR-00154(1,2,4)-FB
                                                  §
(1) Juan Enrique Kramer                           §
(2) Adriana Pastor                                §
(4) Karina Hernandez                              §
                                                  §

                         ORDER GRANTING CONTINUANCE AND
                           AMENDING SCHEDULING ORDER

       The matter before the Court is Defendant's Unopposed Motion for Continuance filed

October 4, 2021 [# 104]. After reviewing the motion, it is the opinion of the Court that the trial in

this case should be and is continued and makes the following amended schedule:

                The deadline for notifying the Court of any plea agreement entered into by
       the parties in this cause is Friday, December 17, 2021. No plea agreement entered
       into after that date shall be honored by this Court without good cause shown for the
       delay.

               Docket call AND REARRAIGNMENT AND PLEA remain set for
       Tuesday, January 04, 2022 at 9:00 AM in Courtroom G on the Third
       Floor of the United States District Courthouse, 214 West Nueva Street, San Antonio,
       TX . (Guilty plea will be taken at docket call – no other order will be sent.) DO
       NOT ASSUME A CONTINUANCE IS GRANTED -- YOU MUST HAVE A
       SIGNED ORDER BY THE COURT OR HAVE RECEIVED A CALL
       FROM THE COURTROOM DEPUTY OR COURT STAFF ADVISING OF
       SAME.

                Jury selection and trial remain set for Tuesday, January 04, 2022 at 09:00
       AM Courtroom 2, on the First Floor of the John H. Wood, Jr. United States
       Courthouse, 655 East Cesar E. Chavez Boulevard, San Antonio, TX . Motions to
       Suppress will be heard immediately prior to jury selection or will be carried with the
       trial unless otherwise ordered by the Court.
  Case 5:21-cr-00154-FB Document 105 Filed 10/07/21 Page 2 of 2




IT IS SO ORDERED this 7th day of October, 2021.

                                       ______________________________
                                       FRED BIERY
                                       UNITED STATES DISTRICT JUDGE
